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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CRIMINAL NO.
                                                 :    MAGISTRATE NO. 21-MJ-551
           v.                                    :
                                                 :
 PAMELA ANNE HEMPHILL,                           :    VIOLATIONS:
                                                 :    18 U.S.C. § 1752(a)(1)
                         Defendant.              :    (Entering and Remaining in a Restricted
                                                 :    Building)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Violent Entry and Disorderly Conduct in
                                                 :    a Capitol Building)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                      a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, PAMELA ANNE HEMPHILL,

knowingly entered and remained in the United States Capitol, a restricted building, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))


                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, PAMELA ANNE HEMPHILL,

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engaged in disorderly and disruptive conduct in, and within such proximity to,
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the United States Capitol, a restricted building, when, and so that, such conduct did in fact impede

and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, PAMELA ANNE HEMPHILL,

willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))


                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, PAMELA ANNE HEMPHILL,

willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                              By:            /s/ Katherine Nielsen
                                                     KATHERINE NIELSEN
                                                     Trial Attorney, Detailee
                                                     United States Attorney’s Office
                                                     District of Columbia
                                                     D.C. Bar No. 491879
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 355-5736
                                                     Email: Katherine.Nielsen@usdoj.gov

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